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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION
MARK ANTHONY ORTEGA,
Plaintiff,
SA-24-CV-768-JKP (HJB)

Vv.

ELITE LIVING REALTY, LLC,

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Defendant.
ORDER

Before the Court is the status of this case which was referred to the undersigned for
consideration of non-dispositive matters pursuant to 28 U.S.C. § 636(b). (See Docket Entry 5.)
Plaintiff, who is proceeding pro se, has provided proof of service showing that Defendant was
served with the complaint in this case on July 23, 2024. (See Docket Entry 6.) Although the
time for answer or other responsive pleading has passed, Defendant has not answered or responded
to the complaint.

Federal Rule of Civil Procedure 55 provides that, “[w]hen a party against whom a judgment
for affirmative relief is sought has failed to plead or otherwise defend, and that failure is shown by
affidavit or otherwise, the clerk must enter the party’s default.” Feb. R. Civ. P. 55(a).

Accordingly, it is hereby ORDERED that, on or before September 23, 2024, Plaintiff
must file an Advisory either (1) showing Defendant’s failure to plead by affidavit or otherwise, in
accordance with Rule 55(a), or (2) providing the Court with an update as to the status of the parties’

communications subsequent to service of the complaint.
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SIGNED on August 21, 2024.

Henry emporad ¢
United States Magistrate Judge

to
